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IN THE UN:TED sTATEs DISTRICT coURT m -D-'-"»`.
FOR THE wESTERN DISTRICT op TENNESSEE G,~WW
wEsTERN DIVISION "3 … 27 FH 3: 93

 

 

UNITE]D STATES OF AMERICA

Plaintiff,

Criminal No . O£\/ -&BQ_Ml

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réz»adpj/ L?g?éfy/ ) (60-Day Continuance)
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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the June
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, JulV 22, 2005, with trial to take place on
the August, 2005, rotation calendar with the time excluded under
the Speedy Trial Act through August 12, 2005. Agreed in open

court at report date this 27th day of May, 2005.

'l`his docl.ment entered on the docket sheet |n compilance
mm R.ale 55 and/or 321b1 FRCrP on " "

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SO oRDERED this 27th day of May, 2005.

Qv`~@_mCLQ/Q

JON PHIPPS MCCALLA
UN TED STA'I'ES DISTRICT JUDGE

 

Assistant United States Attorney

 

 

 

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ounsel for Defendant

 

   

UNITED sTATE DRISTIC COURT - WTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CR-20452 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

